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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                   CASE NO.: 0:19-cv-62763-MGC



      WAYNE CAMPBELL,
      an individual,

                Plaintiff,

      v.
      HEALTHCARE REVENUE
      RECOVERY GROUP, LLC, AND
      INPHYNET SOUTH BROWARD,
      LLC.


              Defendant.
      _____________________________/

                NOTICE OF STRIKING DOCUMENT FILED IN ERROR[Doc 6]

            Defendant HEALTHCARE REVENUE RECOVERY GROUP, LLC (“Defendant”),

     by and through its undersigned attorney, and pursuant to the Clerk’s instructions [Doc 10],

     hereby files this Notice of Striking the document related to another case and filed in error [Doc

     6]. Additionally, Defendant has submitted the correct document for filing: Defendant HRRG’s

     Answer and Affirmative Defenses [Doc 8].

            Dated this 4th day of December 2019.

                                                          /s/ Ernest H. Kohlmyer, III
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                                                     Revenue Recovery Group, LLC



                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

     December 4, 2019, via the Court Clerk’s CM/ECF system which will provide notice to the

     following:   Jibrael S. Hindi, Esquire of The Law Offices of Jibrael S. Hindi at

     jibrael@jibraellaw.com; Paul Herman, Esquire of Consumer Advocates Law Group, PLLC. at

     paul@consumeradvocatelaw.com; and Joel A. Brown, Esquire of Friedman & Brown, LLC at

     joel.brown@friedmanandbrown.com (Attorneys for Plaintiff).



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